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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
Nash, et al.,

                          Plaintiffs,                               19 Civ. 9138 (AEK)

        -against-                                                  CANCELLATION AND
                                                                   SCHEDULING ORDER
Countywide Carting, LTD et al.,

                          Defendants.
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THE HONORABLE ANDREW E. KRAUSE, U.S.M.J.

        In light of Plaintiffs’ update regarding Mr. Cirello, see ECF No. 73, the telephonic status

conference scheduled for Monday, November 8, 2021, at 10:30 a.m. before Magistrate Judge

Krause is hereby ADJOURNJED sine die. Additionally, upon the joint request from counsel

received via e-mail, the parties’ deadline for filing their settlement approval submission is hereby

EXTENDED from November 8, 2021 to November 18, 2021.

Dated: November 2, 2021
       White Plains, New York

                                                              SO ORDERED.


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                                                              ANDREW E. KRAUSE
                                                              United States Magistrate Judge
